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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            JACKSON DIVISION


UNITED STATES OF AMERICA


VS.                                            CRIMINAL NO. 3:95-cr-60-WHB


CHARLES WARDEN

                               OPINION AND ORDER

      This cause is before the Court on the Motions of Defendant,

Charles Warden (“Warden”) for Reduction in Sentence Pursuant to 18

U.S.C. § 3582(c)(2).

      On August 23, 1995, Warden was charged with, inter alia,

engaging in a continuing criminal enterprise in violation of 21

U.S.C.    §   848, and   conspiracy to distribute         cocaine     base and

marijuana in violation of 21 U.S.C. § 846.             On February 9, 1996,

Warden pleaded guilty to the continuing criminal enterprise charge.

On August 12, 1996, Warden was sentenced to a 360-month term of

imprisonment, to be followed by 5 years of supervised release, and

was ordered to pay a fine in the amount of $5,000 and a special

assessment in the amount of $50.        Warden’s sentence was calculated

from a base offense level of 38, as he was held accountable for

more than 1.5 kilograms of cocaine base.1            He received a 4-level

upward adjustment for conducting a continuing criminal enterprise,


      1
        According to the Government, the Pre-sentence
Investigation Report shows that Warden was responsible for
approximately 107.941 kilograms of cocaine base.
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and was granted a 1-level downward departure pursuant to U.S.S.G.

§ 5K1.1, resulting in a total offense level of 41.                   The total

offense level, combined with a Criminal History Category II,

resulted in a sentencing guideline range between 360 months to life

imprisonment. Warden has now moved for a reduction in his sentence

pursuant to 18 U.S.C. § 3582(c)(2), based on recent changes to

U.S.S.G.   §   2D1.1,   specifically     Amendment   706      (as   amended   by

Amendment 711), which lowers the sentencing range for certain

cocaine base-related offenses.2

     Under 18 U.S.C. § 3582:

     The court may not modify a term of imprisonment once it
     has been imposed except that –

           ....

     in the case of a defendant who has been sentenced to a
     term of imprisonment based on a sentencing range that has
     subsequently been lowered by the Sentencing Commission
     pursuant to 28 U.S.C. 994(o), upon motion of the
     defendant or the Director of the Bureau of Prisons, or on
     its own motion, the court may reduce the term of
     imprisonment, after considering the factors set forth in
     section 3553(a) to the extent that they are applicable,
     if such a reduction is consistent with applicable policy
     statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).

     The decision regarding whether to reduce a sentence under 18

U.S.C. § 3582(c)(2) rests “in the sound discretion of the district



     2
        Two motions for reduction in sentence have been filed in
this case. The first was filed by Warden pro se on March 13,
2008. The second was filed on Warden’s behalf by Federal Public
Defender George Lucas on August 1, 2008.

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judge.”   United States v. Whitebird, 55 F.3d 1007, 1009 (5th Cir.

1995)(citing United States v. Shaw, 30 F.3d 26, 28 (5th Cir.

1994)).   When exercising his discretion, the district judge must

“consider the sentence it would have originally imposed had the

guidelines, as amended, been in effect at the time.”             Id.   (citing

U.S.S.G. § 1B1.10(b)).        Specifically, U.S.S.G. § 1B1.10 provides:

     (b) Determination of Reduction in Term of Imprisonment.

     (1) In General. – In determining whether, and to what
     extent, a reduction in the defendant’s term of
     imprisonment under 18 U.S.C. § 3582(c)(2) and this policy
     statement is warranted, the court shall determine the
     amended guideline range that would have been applicable
     to the defendant if the amendment(s) to the guidelines
     listed in subsection (c) had been in effect at the time
     the   defendant   was   sentenced.     In   making   such
     determination, the court shall substitute only the
     amendments listed in subsection (c) for the corresponding
     guideline provisions that were applied when the defendant
     was sentenced and shall leave all other guideline
     application decisions unaffected.

U.S.S.G. § 1B1.10(b)(1).

     Additionally, the jurisdiction of the Court under Section

3582(c)(2) is specifically limited to reductions based on changes

to the applicable Sentencing Guidelines range, and the policy

statement contained in Section 1B1.10(b)(2)(A) is clear that “the

[C]ourt shall not reduce the defendant’s term of imprisonment under

18 U.S.C. 3582(c)(2) and this policy statement to a term that is

less than the minimum of the amended guideline range.”

     In the present case, the Court finds it has no authority under

Section 3582(c)(2) to reduce Warden’s term of imprisonment because


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the amendments made to the Sentencing Guidelines did not change the

range applicable to him.         Specifically, Warden’s offense involved

over    100   kilograms     of   cocaine    base.      Under      the   Sentencing

Guidelines as amended, specifically Section 2D1.1(c), the Base

Offense Level for that amount of cocaine base is 38, which is the

same Base Offense Level that was used when Warden was previously

sentenced.      Thus, the amended Sentencing Guidelines range remains

360    months   to   life   imprisonment,       and   Warden      was   previously

sentenced to 360 months.

       The Court finds that as the Base Offense Level used to

calculate Warden’s sentence is the same under the prior and amended

Sentencing Guidelines, his current sentence should not be reduced

under 18 U.S.C. § 3582(c)(2).



                                   Conclusion

       For the forgoing reasons:

       IT IS THEREFORE ORDERED that Defendant’s Motions for Reduction

in Sentence Pursuant to 18 U.S.C. § 3582(c)(2) [Docket Nos. 457,

458] are hereby denied.

       IT IS FURTHER ORDERED that the Clerk of Court is directed to

send a copy of this Opinion and Order to Defendant at his last

known address.




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     IT IS FURTHER ORDERED that the Clerk of Court is directed to

send a copy of this Opinion and Order to the United States

Department of Probation for the Southern District of Mississippi.

    SO ORDERED this the 8th day of October, 2008.



                                        s/ William H. Barbour, Jr.
                                        UNITED STATES DISTRICT JUDGE




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